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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MARY WEST,
                                Plaintiff,
                                                                   20-CV-6514 (JPO)
                     -v-
                                                                         ORDER
 ELLESSE USA LLC,
                                Defendant.


J. PAUL OETKEN, District Judge:

       The Court has been informed that the parties have reached a settlement of this case.

Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and without

prejudice to restoring the action to the Court’s calendar, provided the application to restore the

action is made within sixty days.

       All filing deadlines and conference dates are adjourned sine die.

       SO ORDERED.

Dated: October 27, 2020
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
